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10

11                                UNITED STATES DISTRICT COURT
12
                                NORTHERN DISTRICT OF CALIFORNIA
13

14   Wilbur-Ellis Company, a California corporation;         Case No: CV 12 1270 LB

15         Plaintiff,                                        Voluntary Dismissal Without Prejudice
                                                             and Stipulation Concerning the Court’s
16         vs.                                               Retaining Jurisdiction, and [Proposed]
                                                             Order Thereon
17
     Ag Leader Technology, Inc., an Iowa
18
     corporation;                                            Federal Rule 41(a)

19          Defendant

20
             Pursuant to a comprehensive settlement agreement entered into between the parties,
21
     Plaintiff Wilbur-Ellis Company, by its undersigned counsel of record, hereby dismisses
22
     WITHOUT prejudice this entire action against Defendant Ag Leader Technology, Inc. Each
23
     party will bear its own costs and attorneys fees.
24
             Defendant Ag Leader Technology, Inc., by its undersigned counsel of record, hereby
25
     expressly consents that this dismissal is WITHOUT prejudice.
26

27
                                                         1
                                                                    Voluntary Dismissal Without Prejudice
28                                                                       Case No. CV 12 1270 LB
                Case 3:12-cv-01270-LB Document 30 Filed 11/26/12 Page 2 of 2



 1            Further pursuant to the aforementioned settlement agreement entered into between the
 2   parties, the parties by their undersigned counsel below jointly stipulate that Magistrate Judge
 3   Laurel Beeler shall retain jurisdiction over the Parties and the subject matter to enforce the terms
 4   of the aforementioned settlement agreement.
 5                                                   Respectfully submitted,
 6   Date: November 19, 2012                         ____________/s/_______________
                                                     Roy S. Gordet, Counsel of Record for Plaintiff
 7
                                                     Wilbur-Ellis Company
 8

 9

10            Defendant Ag Leader Technology, Inc. consents to the dismissal without prejudice and

11   stipulates to the Court’s retention of jurisdiction as set forth herein.

12
     Date: November 19, 2012                         /s/_Stanley J. Thompson____________
13                                                   Stanley J. Thompson, Counsel of Record for
                                                     Defendant Ag Leader Technology Inc.
14

15                                                  ORDER
16           Good cause appearing, this entire action is dismissed WITHOUT prejudice and the Court
17   shall retain jurisdiction over the parties in the event that it is necessary for either party to seek the
18   Court’s assistance in enforcing the terms of the settlement agreement entered into by the parties.
19

20   IT IS SO ORDERED.
21   Date: November 26, 2012                         ________________________________________
22                                                   Magistrate Judge Laurel Beeler
23

24

25

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27
                                                             2
                                                                        Voluntary Dismissal Without Prejudice
28                                                                           Case No. CV 12 1270 LB
